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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN


UNITED STATES OF AMERICA,
             Plaintiff,                             Case No. 20-cr-20453
      v.                                            Hon. Terrence G. Berg
DESTINY ARRINGTON,

             Defendant.
                                       /

            STIPULATION TO ADJOURN SENTENCING DATE

      The United States of America and Defendant Destiny Arrington, through their

respective counsel, stipulate and agree to the entry of an Order to continue

Defendant’s sentencing date, currently scheduled for June 23, 2022 at 2:00 p.m., to

September 26, 2022 at 2:00 p.m., or as soon thereafter as the Court is available.


      A proposed Order in accordance with this Stipulation is attached.

Respectfully Submitted,

s/ Kathleen Cooperstein                      s/ Stefanie L. Lambert (with consent)
Kathleen Cooperstein                         Stefanie L. Lambert
U.S. Department of Justice                   Attorney for Defendant
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Kathleen.Cooperstein@usdoj.gov               Counsel for Destiny Arrington

Dated: June 7, 2022
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN


UNITED STATES OF AMERICA,
             Plaintiff,                           Case No. 20-cr-20453
      v.                                          Hon. Terrence G. Berg
DESTINY ARRINGTON,


             Defendant.
                                     /

                                    ORDER

      Upon review of the attached Stipulation, the Court finds that good cause has

been shown and, therefore, it is

      HEREBY ORDERED that Defendant’s sentencing date shall be and is

hereby continued to October 13, 2022 at 10:00 a.m.


                                            /s/Terrence G. Berg___________
                                            Hon. Terrence G. Berg
                                            United States District Judge

Dated: June 16, 2022
